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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                                  17-cv-4179-DLC
COMMISSION,

                                      Plaintiff,
                                                                         ECF CASE
       - against -

ALPINE SECURITIES CORPORATION,

                                      Defendant.


            DECLARATION OF TERRY R. MILLER IN SUPPORT OF PLAINTIFF
             UNITED STATES SECURITIES AND EXCHANGE COMMISSION’S
                   MOTION FOR PARTIAL SUMMARY JUDGMENT

       I, Terry R. Miller, declare under penalty of perjury, in accordance with 28 U.S.C. § 1746,

that the following statements are true and correct, and further that this declaration is made on my

personal knowledge and that I am competent to testify as to the matters stated herein:

       1.      I am a Trial Counsel in the U.S. Securities and Exchange Commission’s

(“Commission”) Denver Regional Office, and I am one of the attorneys representing the

Commission in this matter.
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       2.     The Commission is contemporaneously submitting a set of exhibits in support of

its Motion for Partial Summary Judgment, which are listed in the Commission’s Rule 56.1

Statement.

       3.     Exhibits 1-3, 7-13, 23, and 36 are true and correct copies of documents made

publicly available on websites maintained by FinCEN, FINRA, and the Commission. Exhibit 6 is

a true and correct copy of a document prepared by FINRA.

       4.     Exhibits 4-5, 14-22, 24-35, 37-42, 44-48, 50-54, and 56-67 are true and correct

copies of documents produced by Defendant Alpine Securities Corporation in response to

Commission requests. Exhibit 4 contains excerpts of a document produced by Defendant.

       5.     Exhibits 43, 49, and 55 contain true and correct copies of data filtered from a

large set of electronic information provided by Defendant in response to Commission requests.

       I declare under penalty of perjury that the foregoing statements are true and correct and

that this Declaration was executed on December 6, 2017 in Denver, Colorado.



                                                    s/ Terry R. Miller
                                                    Terry R. Miller
                                                    Trial Counsel
                                                    Division of Enforcement




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